         Entered on Docket June 26, 2018
                                                          Below is the Order of the Court.


                                                           _______________________________
 1                                                         Marc Barreca
                                                           U.S. Bankruptcy Judge
 2
                                                          (Dated as of Entered on Docket date above)

 3         The Clerk's office may re-close the case after resolution of the matter for which the case was re-
           opened.
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                                 UNITED STATES BANKRUPTCY COURT
10                               WESTERN DISTRICT OF WASHINGTON
11   IN RE:
                                                                 Bankruptcy No.12-11284
12   DEMETRIUS BERTRAND DICKERSON SR,
                                                                 Chapter 7
13                                   Debtors
                                                                 EX PARTE ORDER GRANTING
14                                                               DEBTOR’S MOTION TO REOPEN
                                                                 CASE
15

16            THIS MATTER came before this Court upon Debtor’s Ex Parte Motion to reopen under
17
     Local Rule of Bankruptcy Procedure 5010-1 to allow for the filing of a Motion for Violation of
18
     the Discharge Injuction
19
              ORDERED that Bankruptcy Case No. 12-11284- MLB is reopened.
20
                                               ///END OF ORDER///
21

22   Presented by:

23   HENRY & DEGRAAFF, P.S.
24   /s/ Christina L Henry
25   Christina L Henry, WSBA 31273

26

27
      EX PARTE ORDER GRANTING DEBTORS’ MOTION TO                                       HENRY & DEGRAAFF, PS
      REOPEN CASE - 3                                                                  150 NICKERSON ST, STE 311
                                                                                      SEATTLE, WASHINGTON 98109
                                                                                         telephone (206) 330-0595
                                                                                            fax 1 (206) 400-7609
      Case 12-11284-MLB            Doc 16      Filed 06/26/18       Ent. 06/26/18 10:14:15             Pg. 1 of 1
